                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION




 UNITED STATES OF AMERICA,

                Plaintiff,                                  No. CR06-0162

 vs.                                           REPORT AND RECOMMENDATION

 LAMONT WILLIAM PAPAKEE,

                Defendant.
                                 ____________________




         This matter comes before the court pursuant to the defendant’s February 22, 2007,
motion to suppress evidence and request for an evidentiary hearing (docket number 29).
The government resisted the motion on March 1, 2007. This matter was referred to the
undersigned United States Magistrate Judge for the issuance of a report and
recommendation. It is recommended that the motion to suppress be denied.
         The motion challenges a search warrant issued for the defendant’s residence on
September 8, 2006. Specifically, the defendant contends that the warrant is not supported
by probable cause and omitted a material fact concerning the location of the alleged sexual
assault. The defendant requests an evidentiary hearing pursuant to Franks v. Delaware,
438 U.S. 154 (1978).
         The government contends that the warrant is supported by probable cause. It
contends that if probable cause is somehow lacking, the evidence should not be suppressed
because it meets the good faith exception found in United States v. Leon, 468 U.S. 897
(1984). Finally, the government contends that the defendant is not entitled to a Franks v.
Delaware hearing.




       Case 1:06-cr-00162-LRR-CJW       Document
                                            1    33     Filed 03/06/07    Page 1 of 9
                                     The Search Warrant
      On September 8, 2006, Bryan Ellenbecker of the Tama County Sheriff’s Office
appeared with Mesquaki Tribal Police Officer Dwight Spotted Tail and Federal Bureau of
Investigation Special Agent Jason Amoriell before State of Iowa Magistrate Chad Frese.
Magistrate Frese was presented with the following information from Tribal Officer Dwight
Spotted Tail:
                I’m a certified peace officer for the State of Iowa. I’m
                currently employeed as a Deputy with the Tama County
                Sheriff’s Office. I have a Bachelor’s Degree from Buena Vista
                College, I completed the Iowa Law Enforcement Academy in
                the 144th Basic. I have been in law enforcement for 12 years
                as a full-time office and 6 years of Reserve and Part-time
                experience. I have attended numerous trainings on Sex Abuse,
                Drug Classes, and all aspects of law enforcement. On 09-08-
                06, I received information from Chief Deputy Dave Ruopp of
                a possible sexual assault case that had happened at 315 Red
                Earth Drive, Tama, Iowa in Tama County. Information was
                given to the Tama County Sheriff’s Office by Officer Dwight
                Spotted Tail with the Meskawki Tribal Police. (See attached
                Case Investigation Report).
Deputy Ellenbecker swore to the truth of the following statements:
                I was approached by Denise Davenport who is an employee of
                the tribe and told that she had been made aware of a woman
                who was the victim of a sexual assault that had occurred on or
                about Wednesday night, 6 September.

                I inquired further and was told that the victim, Ms. Lucie
                Dale, had been to a party at the home of Mr. LaMont
                Papakee. Denise Davenport had been told of the incident by
                Rita Papakee who allegedly had gone to the party and
                witnessed the victim nude and passed out on the floor of the
                residence. Rita told Denise that the victim had been doused
                with beer and had her clothing removed presumedly by
                participants at the party. She then left.

                Rita supposedly went back a second time and observed the
                victim was bloody with lacerations and bruises about her body.
                Rita was aparently able to get the victim up and take her to the

    Case 1:06-cr-00162-LRR-CJW           Document
                                             2    33       Filed 03/06/07    Page 2 of 9
       home of Rodney Papakee where she gave her clothing and
       assistance.

       The next day Rita contacted a friend who is a nurse and asked
       her to come to the house and examine the victim. The victim
       refused any medical treatment and refused to report the
       incident to the police. Rita also allegedly told Denise that she
       had seen multiple lacerations and bruised on the victims body
       including cigarette burns on her pubic area and her buttocks.
       Rita told Denise that the victim had been sexually assaulted
       with a beer bottle and a cucumber and was bleeding from her
       rectum and vagina.

       I made contact with Rita Papakee and spoke with her about the
       incident. She confirmed the heresay information Denise had
       given me. She also gave me the names of several of the
       participants who were present at the party when she was there.
       I asked rita if they had called the Tama County Sheriff and she
       said they had. She said a deputy came out and the victim told
       him that she was alright and didn’t want to make a report, the
       deputy apparently left without making a report.

       I then made contact with the victim who was at the residence
       of Rodney Papakee. I observed bruises and abrasions on her
       head and she said she was having “real bad pains in my head”.
       I tried to get her to tell me what had happened but she was
       very reluctant and kept saying she did not want to report
       anything but just wanted to go home. I continued to talk to her
       and attempt to establish a rapport and she did tell me she had
       been hit in the head with vodka bottle by Connie Blackcloud
       and was also beaten by LaMont. I tried to get her to go for an
       examination and she refused. I was able to convince her to
       come to the police station and take some pictures of her
       injuries. I was able to obtain photographs showing injuries to
       her head, arms, buttocks and legs. The injury I observed on
       her buttocks resembled that of a cigarette burn. She told me
       she had similar burn marks other pubic area but did not want
       me to photograph them. Prior tooling to the station I took her
       to LaMont’s house at her request to attempt to get her clothes.
       On the way out the door she said he was washing the blody
       pillows and was attempting to get rid of the evidence.


Case 1:06-cr-00162-LRR-CJW      Document
                                    3    33       Filed 03/06/07    Page 3 of 9
All three law enforcement officers were placed under oath by Magistrate Frese. He asked
each officer detailed questions concerning what they had observed and been told by the
alleged victim and others. See Exhibit 2 attached to the Government’s resistance. Based
on this information, Magistrate Frese issued the requested search warrant.
       The defendant alleges and the government concedes that Deputy Ellenbecker had
previously presented a search warrant to a Magistrate Kuhter who refused to sign the
warrant. The government contends that Magistrate Kuhter is not a lawyer and that she
refused to sign it upon the erroneous belief that a warrant cannot be issued upon hearsay.
The government further alleges that the record made before Magistrate Frese is
considerably more detailed than the request presented to Magistrate Kuhter. These,
however, are fact issues. Because the parties agree that a warrant was earlier presented
to Magistrate Kuhter, this is the only fact concerning the earlier application that the court
takes as true for the purpose of resolving this motion.
       The defendant further contends that the warrant lacks probable cause because the
allegations of wrongdoing are not sufficiently corroborated and the reliability of those
providing information is not established. Finally, the defendant states that the officers
misled Magistrate Frese because they omitted facts specific to the location or occurrence
of the alleged assault by the defendant.
                               CONCLUSIONS OF LAW
       Because the evidence sought to be suppressed was gathered pursuant to a search
warrant, the court employs the standard set forth in Illinois v. Gates, 462 U.S. 213 (1983),
to determine the existence of probable cause. It is well established that a warrant affidavit
must show particular facts and circumstances in support of the existence of probable cause
sufficient to allow the issuing judicial officer to make an independent evaluation of the
application for a search warrant. The duty of the judicial officer issuing a search warrant
is to make a "practical, commonsense decision" whether a reasonable person would have
reason to suspect that evidence would be discovered, based on the totality of the
circumstances.    United States v. Peterson, 867 F.2d 1110, 1113 (8th Cir. 1989).


    Case 1:06-cr-00162-LRR-CJW          Document
                                            4    33       Filed 03/06/07    Page 4 of 9
Sufficient information must be presented to the issuing judge to allow that official to
determine probable cause; his action cannot be a mere ratification of the bare conclusion
of others. Gates, 462 U.S. at 239. However, it is clear that only the probability, and not
a prima facie showing, of criminal activity is required to establish probable cause. Id.
at 235.
       This court does not review the sufficiency of an affidavit de novo. An issuing
judge's determination of probable cause should be paid great deference by reviewing
courts. Id. at 236. The duty of the reviewing court is simply to ensure that the issuing
judge had a substantial basis for concluding that probable cause existed. Id. at 238-39.
       Even where probable cause is lacking, the court's inquiry does not end. Pursuant
to United States v. Leon, 468 U.S. 897 (1984), in the absence of an allegation that the
issuing judge abandoned a neutral and detached role, suppression is appropriate only if the
affiant was dishonest or reckless in preparing the affidavit or could not have harbored an
objectively reasonable belief in the existence of probable cause. In Leon, the United States
Supreme Court noted the strong preference for search warrants and stated that in a
doubtful or marginal case a search under a warrant may be sustainable where without one,
it would fall. Leon, 468 U.S. at 914.
              Searches pursuant to a warrant will rarely require any deep
              inquiry into reasonableness, . . . for a warrant issued by a
              magistrate normally suffices to establish that a law
              enforcement officer has acted in good faith in conducting the
              search. . . . Nevertheless, the officer's reliance on the
              magistrate's probable-cause determination and on the technical
              sufficiency of the warrant he issues must be objectively
              reasonable, . . . and it is clear in some circumstances the
              officer will have no reasonable grounds for believing that the
              warrant was properly issued.
Id. at 922-23.
       Pursuant to Leon, suppression remains an appropriate remedy: (1) where the
magistrate issuing a warrant was misled by information in an affidavit that the affiant knew
was false or would have known was false except for his reckless disregard for the truth,


    Case 1:06-cr-00162-LRR-CJW          Document
                                            5    33      Filed 03/06/07    Page 5 of 9
Franks v. Delaware, 438 U.S. 154 (1978); (2) where the issuing magistrate wholly
abandons the judicial role and becomes a "rubber stamp" for the government; (3) where
the officer relies on a warrant based on an affidavit so lacking in indicia of probable cause
as to render official belief in its existence entirely unreasonable; or (4) where the warrant
is so facially deficient in failing to particularize the place to be searched or the things to
be seized that the executing officers cannot reasonably presume it to be valid. In Leon,
the remedy of suppression was not ordered despite the fact that the affidavit in that case
did not establish probable cause to search the residence in question.           Further, the
information was fatally stale and failed to properly establish the informant's credibility.
The standard announced in Leon is an objective standard.
       In this case, the affidavit of Bryan Ellenbecker supported the search warrant. In it,
Deputy Ellenbecker reported the statements of Rita Papakee.            Ms. Papakee was a
complaining witness who observed the alleged victim at the defendant’s residence naked
after being doused with beer. She then left. When she came back after the alleged assault,
Ms. Papakee observed signs of harm to the alleged victim that were consistent with a
serious assault. Ms. Papakee assisted the victim and later got a nurse to give her attention.
Ms. Papakee was able to name participants at the residence at the time of the alleged
assault. She called the police.
       Deputy Ellenbecker’s affidavit also shows that he talked to the alleged victim in this
case. He personally observed signs that were consistent with a serious assault. The
alleged victim identified the defendants in this case as the perpetrators of the assault. The
victim also consistently stated that she did not want to make a report or get the police
involved. Finally, she told Deputy Ellenbecker that she was attempting to get rid of the
evidence by washing certain blood stained items.
       The information in the affidavit was supplemented by the detailed examination made
by Magistrate Frese while the three investigating law enforcement officers were under
oath. The information supporting the warrant was recent, detailed, and corroborated. The
affiant made no attempt to conceal or diminish the fact that the alleged victim was


    Case 1:06-cr-00162-LRR-CJW          Document
                                            6    33       Filed 03/06/07     Page 6 of 9
unwilling to press charges. The totality of the circumstances demonstrates that there was
probable cause to issue the warrant.
                                    Franks v. Delaware
       In order to prevail on a challenge to a warrant affidavit pursuant to Franks v.
Delaware, 438 U.S. 154 (1978), the challenger must show (1) that a false statement
knowingly and intentionally or with reckless disregard for the truth, was included in the
affidavit and (2) that the affidavit’s remaining content is insufficient to establish probable
cause. United States v. Gladney, 48 F.3d 309, 313 (8th Cir. 1995).
              To mandate an evidentiary hearing, the challenger's attack
              must be more than conclusory and must be supported by more
              than a mere desire to cross-examine.           There must be
              allegations of deliberate falsehood or of reckless disregard for
              the truth, and those allegations must be accompanied by an
              offer of proof. They should point out specifically the portion
              of the warrant affidavit that is claimed to be false; and they
              should be accompanied by a statement of supporting reasons.
              Affidavits or sworn or otherwise reliable statements of
              witnesses should be furnished, or their absence satisfactorily
              explained. Allegations of negligence or innocent mistake are
              insufficient.
Franks, 438 U.S. at 171.
       Further, in order to mandate a hearing, the challenged statements in the affidavit
must be necessary to a finding of probable cause. United States v. Flagg, 919 F.2d 499
(8th Cir. 1990); see also United States v. Streeter, 907 F.2d 781, 788 (8th Cir. 1990)
(contested material must be "vital" to probable cause). It must also be remembered that
although the affidavit must contain statements that are truthful,
              [t]his does not mean "truthful" in the sense that every fact
              recited in the warrant affidavit is necessarily correct. For
              probable cause may be founded upon hearsay and upon
              information received from informants, as well as upon
              information within the affiant's own knowledge that some
              times must be garnered hastily. But surely it is to be




    Case 1:06-cr-00162-LRR-CJW          Document
                                            7    33       Filed 03/06/07     Page 7 of 9
              "truthful" in the sense that the information put forth is believed
              or appropriately accepted by the affiant as true.
Franks, 438 U.S. at 165.
       Omissions of facts are not misrepresentations unless they cast doubt on the existence
of probable cause. United States v. Parker, 836 F.2d 1080, 1083 (8th Cir. 1987). The
same analytical process used to determine whether an affidavit contains a material
falsehood is used to determine whether an omission will vitiate a warrant affidavit under
Franks. United States v. Lueth, 807 F.2d 719, 726 (8th Cir. 1986). The defendant must
show that: (1) the police omitted facts with the intent to make, or in reckless disregard of
whether they thereby made, the affidavit misleading; and (2) that the affidavit, if
supplemented by the omitted information, would not have been sufficient to support a
finding of probable cause. With respect to the second element, suppression is warranted
only if the affidavit as supplemented by the omitted material could not have supported the
existence of probable cause. Lueth, 807 F.2d at 726.
       The defendant contends that the affiant omitted information concerning the location
of the assault. However, the affidavit specifically states that it occurred at a party at the
home of LaMont Papakee.         Officer Dwight Spotted Tail specifically described the
residence of LaMont Papakee as 315 Red Earth Drive. The warrant issued to search the
residence at 315 Red Earth Drive, Tama, Iowa.
       Accordingly, the court is unable to find an omission from an examination of the
defendant’s motion. Furthermore, the defendant does not suggest any evidence that, if
added to the affidavit, would detract from a finding of probable cause. Under these
circumstances, the defendant is not entitled to an evidentiary hearing.
                                        Good Faith
       In the event that the court were to find that probable cause was somehow lacking,
the government is obviously entitled to the good faith exception of United States v. Leon,
468 U.S. 897 (1984).      In addition to the detailed affidavit and investigation report,
Magistrate Frese wisely placed three law enforcement officers under oath and asked


    Case 1:06-cr-00162-LRR-CJW          Document
                                            8    33       Filed 03/06/07     Page 8 of 9
additional questions concerning the warrant. Under these circumstances, the defendant
cannot persuasively argue that Magistrate Frese abandoned his neutral and detached role.
                                  Magistrate Shopping
      Finally, the defendant appears to contend that there was something wrong with
appearing before a second magistrate when a previous magistrate refused to issue the
warrant. As the Seventh Circuit Court of Appeals stated in United States v. Pace, 898
F.2d 1218 (7th Cir. 1990):
              The Fourth Amendment on its face does not prohibit from
              seeking a second magistrate’s approval to search when another
              magistrate denies a search warrant. The Fourth Amendment
              commands only that a “neutral and detached magistrate”
              determine that probable cause exists. Thus, the important
              questions, from a Fourth Amendment standpoint, are whether
              the magistrate really was “neutral and detached,” and whether
              probable cause actually existed, not how many magistrates the
              government applied to before finally obtaining a warrant.
Pace at 1230-31.
      For the reasons discussed above, IT IS RECOMMENDED, unless any party files
          1
objections to the Report and Recommendation within ten (10) days of the date of the
report and recommendation, that the defendant’s February 22, 2007, motion to suppress
be denied.
      March 6, 2007.




      1
         Any party who objects to this report and recommendation must serve and file
specific, written objections within ten (10) court days from this date. A party objecting
to the report and recommendation must arrange promptly for a transcription of all portions
of the record the district court judge will need to rule on the objections.
    Case 1:06-cr-00162-LRR-CJW         Document
                                           9    33      Filed 03/06/07   Page 9 of 9
